        Case 1:18-cv-00965-MV-JFR Document 23 Filed 05/06/19 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

GLORIA BRINGAS, ON BEHALF OF
HERSELF AND ALL OTHERS SIMILARLY
SITUATED

         Plaintiffs,

                   v.
                                                         Civil Action No. 1:18-CV-965-MV-KBM
ATENCION FAMILY SERVICES, AND
JENNIFER MULLER,

        Defendants.


                        ORDER ON JOINT STIPULATION OF NOTICE

        The Court has reviewed the Parties’ Joint Stipulation of Notice and hereby ENTERS the

Stipulation as an Order of the Court.

        A. IT IS HEREBY ORDERED that the Notice and Consent Form (attached to the Parties’

Stipulation as Exhibit A) is timely, informative, and accurate and accordingly, the Court authorizes

its dissemination as described in the Joint Stipulation. Nothing in this Order or in the Notice and/or

Consent Form shall be interpreted as limiting, waiving, or modifying any of the Parties’ claims

and/or defenses, including Defendants’ right to contest certification following discovery.

        B. IT IS FURTHER ORDERED that the class shall consist of, and that Notice shall be

sent to, all current and former hourly employees of Defendants who fall within the definition below

(the “Potential Plaintiffs”):

        All caregivers identified by Defendant as having worked over 40 hours per week in the last

        three years.

        C. IT IS FURTHER ORDERED that Defendants shall produce the names, last known

addresses, email addresses, if known, and telephone numbers of all Potential Plaintiffs (“Employee

PARTIES PROPOSED JOINT ORDER OF JUDICIALLY SUPERVISED NOTICE                           PAGE 1
        Case 1:18-cv-00965-MV-JFR Document 23 Filed 05/06/19 Page 2 of 3



Information”). Defendants shall provide the Employee Information within seven (7) days of the

entry of this Order.

       If Defendants fail to provide the Employee Information within seven (7) days of entry of

this Order, the statute of limitations is equitably tolled for each day after the seventh day that

Defendants fail to provide the Employee Information.

       D. IT IS FURTHER ORDERED that the Notice submitted to the Parties’ Stipulation as

Exhibit A may be immediately issued to the Potential Plaintiffs. The Consent to Join form attached

in Exhibit A shall be enclosed with the Notice to Potential Plaintiffs, along with a self-addressed,

postage paid return envelope for U.S. Postal Mailing. Plaintiffs are permitted to send additional

subsequent mailing of this Notice at their expense. The Notice and Consent forms shall be mailed

by first class mail or overnight delivery at Plaintiffs’ attorneys’ cost and may also be sent

electronically by email, if available. The Potential Plaintiffs shall be provided sixty days after the

date the Notice and Consent forms are initially mailed to file a Consent to Join form opting in to

this litigation (the “Opt-In Deadline”), unless the Parties agree to permit late filings or good cause

can be shown as to why the consent was not postmarked or received prior to the deadline.

       E. IT IS FURTHER ORDERED that a Consent to Join that is postmarked on the Opt-In

Deadline will be considered timely. The Parties further agree that Consents received by mail

without postmarks shall be considered timely if received within five business days of the deadline.

Plaintiffs shall provide the Court and opposing counsel with a notice indicating the date on which

the Notice forms were initially mailed, so that the Court and the Parties are advised of the

beginning of the opt-in period and the Opt-In Deadline. Plaintiffs’ counsel shall date-stamp the

returned Consents on the day that they are received in counsel’s office and retain any envelope or

other evidence showing the date that the Consent form was postmarked, fax-stamped, or received.



PARTIES PROPOSED JOINT ORDER OF JUDICIALLY SUPERVISED NOTICE                           PAGE 2
       Case 1:18-cv-00965-MV-JFR Document 23 Filed 05/06/19 Page 3 of 3



       F. IT IS FURTHER ORDERED that Defendants will include this Notice and Consent

Form in the pay envelope of each of the currently employed Potential Plaintiffs within fifteen (15)

days of the date on which Defendants provide Employee information to Plaintiffs.


       So ORDERED and SIGNED this 6th day of May, 2019.



                                                __________________________________________
                                                HONORABLE MARTHA VÁZQUEZ
                                                UNITED STATES DISTRICT JUDGE



APPROVED AS TO FORM AND SUBSTANCE:

FOR PLAINTIFF:

/s/ Christopher Benoit__              _     _
Christopher Benoit


FOR DEFENDANTS:

/s/ Christopher Moody (with permission)____
Christopher Moody




PARTIES PROPOSED JOINT ORDER OF JUDICIALLY SUPERVISED NOTICE                         PAGE 3
